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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                             Chapter 11

AMYRIS, INC., et al.,                                              Case No. 23-11131 (TMH)

                                    Debtors.1                      (Jointly Administered)



                                                                   [Related D.I. ____]



   ORDER GRANTING DEBTORS’ MOTION TO CONTINUE HEARING THE
 APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
    FOR ENTRY OF AN ORDER (I) AUTHORIZING THE RETENTION AND
EMPLOYMENT OF JEFFERIES LLC AS INVESTMENT BANKER PURSUANT TO 11
                     U.S.C. §§ 328(a) AND 1103(a)

         Upon the Motion of Amyris, Inc. (“Amyris”) and its affiliated debtors and debtors in

possession (collectively, the “Debtors”) in the above-captioned Chapter 11 Cases for an order

continuing the hearing on the Application of the Official Committee of Unsecured Creditors for

Entry of an Order (I) Authorizing the Retention and Employment of Jefferies LLC as Investment

Banker Pursuant to 11 U.S.C. §§ 328(a) and 1103(a) [D.I. 334 ] (the “Application”) it is hereby


         ORDERED that the hearing on the Application shall be continued to November 6, 2023 at

10:00 A.M. (E.T.).




1 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’

proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.
